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DCU 09-053
POLICE DEPARTMENT
CITY OF NEW YORK

September 30, 2009

From: Commanding Officer, Disorder Control Unit

To: Chief of Special Operations

Subject: PROPOSAL FOR PATROL BOROUGH TASK FORCE

TRAlNlNG
1. Among the many responsibilities of the Disorder Control Unit is the task

of training members of the service with regard to disorder control tactics. ln fact, the first
mission of DCU when the unit was formed in the early 1990s was to create a training
program for the entire department and to implement that plan. The training at the time
consisted of basic disorder control information, and a practical “hands-on” session using
disorder control formations (commonly referred to as “lines and wedges”).

2. Later in the 1990s, DCU incorporated additional tactics into its training
program, including Mass Arrest tactics, Looting/Arrest tactics, and a high-profile vehicle
rescue tactic (designed to address the Reginald Denny incident during the Los Angeles
riots in 1992). These tactics were reviewed and updated in advance of the training
conducted prior to the 2004 Republican National Convention.

3. Although task forces are encouraged to conduct regular disorder control
training sessions. DCU conducts these sessions when requested. DCU also conducts
disorder control training sessions at the full-scale exercises that the unit conducts.

4. ln August of 2009, four members of the service from DCU attended a
three-day MCATI (Managing Civil Actions in Threat lncidents) course offered through
the Department of Homeland Security. The course includes a review of the history of
riots, use of riot control agents, a review of demonstrator tactics, and introduces some
disorder control tactics not currently used by the NYPD. Bolstered by the new training,
DCU staff would like to begin a new training initiative for Patrol Borough Task Force
members.

5. A recent meeting of Task Force Training personnel revealed that few
task forces are conducting regular disorder control training sessions for their members,
and those that are doing so are only reviewing 1-2 different tactics at brief sessions.
Additionally, many members of the Borough T ask Forces are newly assigned, and have
never received appropriate disorder control training since their time in the Police
Academy.

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6. The Disorder Control Unit proposes the creation of a two-day disorder

control training course, the curriculum for which will be researched and written by DCU.

The course will be offered on (2) consecutive days each week (the days will rotate to
accommodate the various charts worked by Task Force M.O.S.), on all three platoons.

Proposed course schedule as follows:

Day One:
Block of lnstruction

Welcome/Administrative

lntroduction to disorder control

A review of civil disorder, to include NYC draft
Riots ,demonstrations in the l96()s, L.A. riots in
1992, Crown Heights and Washington Heights

Unrest in early l 99()s, G2()/FTAA protests.

Legalities of Civil Disorder

A review of the first amendment disorderly
conduct, riot, etc, and review of arrest warnings
and proper legal procedures at protests

Disorder Control Formations l

A hands-on review of disorder control formations
to include lines and wedges, support formations,
and encirclement tactics

Mass Arrest Tactics

A hands-on review of mass arrest tactics
4-person arrest carries, sit-in protests,

use of jlex-cujls and mass arrest procedures

Meal

Barrier Devices

A hands-on review of barrier devices
including mesh, wood and metal barriers,
and their formations

Demonstrator tactics
A review of demonstrator tactics Including
protest organization and improvised weapons

NYPD Mobilization System
and CIMS

Review of mobilization levels and basic
City-wide Incident Management System

Training T}Qe
paperwork

lecture

lecture

hands-on

hands-on

hands-on

lecture

lecture

Time

15 minutes

60 minutes

45 minutes

75 minutes

60 minutes

60 minutes

30 minutes

75 minutes

60 minutes

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Day Two:
Block of lnstruction Training TDe Time
Disorder Control Formations ll hands-on 75 minutes

A hands-on review of disorder control
formations to include lines and wedges,
support formations, and encirclement tactics,
using shields and/or gas masks

Looting/Arrest Tactics hands-on 45 minutes
A review of tactics for clearing
A block of looters and restoring order

High-proiile vehicle rescue hands-on 60 minutes
A review of the 3-vehicle tactic

To rescue individuals/M O. S.

Trapped in a large disorderly crowd

Meal 60 minutes

Less-lethal Munitions Review lecture and hands-on 60 minutes
A review of the NYPD ’s current LLMs
Including pepper spray and pepperball launcher

Command Post Management lecture 120 minutes
and Tabletop Exercise

Review hands-on 60 minutes
Practical exercise incorporating
Disorder control tactics in 3 scenarios

7. To facilitate this training and ensure that Patrol Borough Task Forces
continue to train their members to appropriate standards, DCU also proposes the re-
establishment of Task Force Training Teams. Each Patrol Borough Task Force will be
asked to identify a Training Sergeant and two Training Officers for their command’s
training team. T hese M.O.S. will go through the first of the proposed training classes, but
over the course of three days, where they will get a more intensive review of the course.
These M.O.S. will assist DCU staff as lnstructors during the general training sessions (2-
3 per class from the 8 task forces so as not of adversely affect their time off patrol). ln
this fashion, DCU will be able to conduct a greater number of sessions, and at the end of
the cycle, each T ask Force will have three qualified M.O.S. to conduct their own in-house
training.

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8. lt is expected that it will be necessary to conduct this training cycle from
late October, 2009, through April, 2010 to schedule enough training “slots” for all
Borough Task Force M.O.S. to attend. Once this has been accomplished, DCU intends to
conduct these sessions a few times each year, to ensure that M.O.S. newly assigned to
Borough Task Forces receive this training.

9. F or your review.

Robert Schwach
Lieutenant

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